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                                                                  1049 Market Street, LLC
                                                             6
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                                                             8                              UNITED STATES DISTRICT COURT
                                                             9                          NORTHERN DISTRICT OF CALIFORNIA
                                                             10                                  OAKLAND DIVISION
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                                                             11   1049 MARKET STREET, LLC, a California    Case Number: 4:15-cv-02075-JSW
                          235 MONTGOMERY STREET, SUITE 400
                           SAN FRANCISCO, CALIFORNIA 94104




                                                             12   Limited Liability Company,
                                                                                                           JOINT CASE UPDATE
                                                             13           Plaintiffs,
                                                             14           vs.
                                                             15
                                                                  CITY AND COUNTY OF SAN
                                                             16   FRANCISCO, BOARD OF SUPERVISORS
                                                                  OF THE CITY AND COUNTY OF SAN
                                                             17   FRANCISCO, PLANNING DEPARTMENT
                                                             18   OF THE CITY AND COUNTY OF SAN
                                                                  FRANCISCO, SAN FRANCISCO
                                                             19   DEPARTMENT OF BUILDING
                                                                  INSPECTION, SAN FRANCISCO
                                                             20   BUILDING INSPECTION COMMISSION,
                                                             21   SAN FRANCISCO BOARD OF APPEALS,
                                                                  and DOES 1-50,
                                                             22
                                                                          Defendants.
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                                                             1            Pursuant to this Court’s Order, dated November 7, 2016, the parties jointly submit this
                                                             2    update as to the progress of the related State Court Actions, 1049 Market Street, LLC v. City
                                                             3    and County of San Francisco, et al., Case No.CGC-15-545950 (the “First Writ Petition”) and
                                                             4    1049 Market Street, LLC v. City and County of San Francisco, et al., Case No.CGC-15-547161
                                                             5    (the “First Damages Action”).
                                                             6
                                                                          In the First Writ Petition, the Court issued an order on April 12, 2016, granting the Writ
                                                             7
                                                                  of Administrative Mandamus, in part; denying the Writ of Mandate; and disposing of several
                                                             8
                                                                  evidentiary motions. On May 2, 2016, Plaintiff filed a motion for reconsideration and notice of
                                                             9
                                                                  intention to file a motion for a new trial. On June 13, 2016, the Court granted the motion for a
                                                             10
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                                                                  new trial in part and denied the motion for reconsideration. Also on June 13, 2016, the Court
                                                             11
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                                                                  issued an amended order, granting the Writ of Administrative Mandamus, in part and denying
                                                             12
                                                                  the Writ of Mandate. On June 7, 2016, and July 8, 2016, Plaintiff appealed the First Writ
                                                             13
                                                                  Petition in the California Court of Appeal, First District, Case No. A148716.
                                                             14
                                                             15           In the First Damages Action, the City filed a motion for judgment on the pleadings

                                                             16   (MJOP), which was heard on March 30, 2017. Plaintiff filed a motion for leave to file a first

                                                             17   amended and supplemental complaint (FASC), which was also heard on March 30, 2017. On

                                                             18   April 4, 2017, the Court granted in part and denied in part the City’s MJOP, and granted

                                                             19   Plaintiff’s motion for leave to file a FASC. On April 13, 2017, Plaintiff filed its FASC. On
                                                             20   May 12, 2017, the City filed an answer to the FASC. On May 15, 2017, the City filed a
                                                             21   petition for writ of mandate in the California Court of Appeal, First District, in Case No.
                                                             22   A151274, challenging the portion of the trial court’s order denying its MJOP. On May 25,
                                                             23   2017, Plaintiff filed a preliminary opposition to the petition for writ of mandate. On June 15,
                                                             24   2017, the First District Court of Appeal issued a “suggestive Palma notice” (Brown, Winfield
                                                             25
                                                                  & Canzoneri, Inc. v. Superior Court (2010) 47 Cal.4th 1233) with regards the Court’s order on
                                                             26
                                                                  the MJOP. On August 2, 2017, in response to the suggestive Palma notice, the Court vacated
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                                                                  its previous order denying the MJOP in the First Damages Action and granted the MJOP in a
                                                             28
                                                                  new order.
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                                                             1            On May 23, 2016, Plaintiff filed another writ petition in State Court against the City in
                                                             2    1049 Market Street, LLC v. City and County of San Francisco, et al., case no. CPF-16-515046
                                                             3    (“Second Writ Petition”), challenging the City’s enactment of ordinances nos. 23-16 and 33-16
                                                             4    (the “Permanent Controls”). On July 11, 2017, the Court denied Plaintiff’s CEQA and facial
                                                             5    challenges in the Second Writ Petition, and held that Plaintiff’s as-applied takings claim and
                                                             6
                                                                  as-applied Ellis Act claim were unripe for review. Plaintiff appealed this order, which is now
                                                             7
                                                                  pending in the First District Court of Appeal, Case No. A151993.
                                                             8
                                                                          On June 30, 2017, Plaintiff filed a third writ petition against the City in State Court,
                                                             9
                                                                  Case No. CPF-17-515754 (“Third Writ Petition”), challenging the revocation of its permit
                                                             10
                                                                  pursuant to the Permanent Controls. Plaintiff also simultaneously filed a second action for
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                                                                  damages against the City in State Court, Case No. CGC-17-559890 (“Second Damages
                           SAN FRANCISCO, CALIFORNIA 94104




                                                             12
                                                                  Action”) for inverse condemnation and violation of its civil rights. On July 5, 2017, Plaintiff
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                                                                  filed notices of related cases in the First Damages Action, the Second Damages Action, and the
                                                             14
                                                                  Third Writ Petition.
                                                             15
                                                                          On August 30, 2017, and again on November 7, 2017, the parties entered into a
                                                             16
                                                                  stipulated hiatus of litigation.
                                                             17
                                                                          In January of 2018, after the hiatus had lifted, Plaintiff moved for a continuance of the
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                                                                  trial date in the First Damages Action and consolidation of the Second Damages Action with the
                                                             19
                                                                  First Damages Action (“Consolidated Damages Action”). Both motions were granted, and the
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                                                                  Consolidated Damages Action is set for trial on November 5, 2018.
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                                                                          On January 24, 2018, the Appellate Court dismissed the CEQA claim in the First Writ
                                                             22
                                                                  Petition as moot and held the following as to the remaining claims:
                                                             23
                                                             24           As to the remaining claims, we affirm the trial court's judgment although we
                                                                          do not adopt all of its reasoning. Specifically, we conclude 1049 Market's
                                                             25           taking claims as to the initial suspension and delay are barred for failure to
                                                             26           exhaust administrative remedies. And to the extent 1049 Market's taking
                                                                          claims are based on the City's later conduct, those claims are not ripe. We
                                                             27           additionally conclude there is no merit to 1049 Market's vested right claim.
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                                                             1            Plaintiff then filed a motion to stay the Consolidated Damages Action in an effort to
                                                             2    ripen its takings claim.     The City filed a motion for judgment on the pleadings in the
                                                             3    Consolidated Damages Action based on the Appellate Court’s suggestive Palma Notice and its
                                                             4    decision in the First Writ Petition.
                                                             5            After these filings, the parties engaged in settlement discussions and took these motions
                                                             6    off calendar, without prejudice. The parties are still presently in settlement discussions, and
                                                             7    litigation has been put on hold.
                                                             8
                                                             9    Respectfully submitted,
                                                             10
                                                                  Dated: July 5, 2018                    ZACKS, FREEDMAN & PATTERSON, PC
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                           SAN FRANCISCO, CALIFORNIA 94104




                                                             12                                                   /s/ Emily L. Brough
                                                             13                                                EMILY L. BROUGH
                                                                                                               Counsel for Plaintiff
                                                             14                                                1049 MARKET STREET, LLC.
                                                             15
                                                             16
                                                             17
                                                                  Dated: July 5, 2018                    DENNIS J. HERRERA
                                                             18                                               City Attorney
                                                             19                                               KRISTEN A. JENSEN
                                                                                                              Deputy City Attorney
                                                             20
                                                             21                                                By: /s/ Kristen A. Jensen
                                                             22                                                KRISTEN A. JENSEN
                                                                                                               Counsel for Defendant
                                                             23                                                City and County of San Francisco
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                                                                                                CERTIFICATION OF SERVICE
                                                             3
                                                             4            The undersigned hereby certifies that on July 5, 2018, all counsel of record who are
                                                             5    deemed to have consented to electronic service are being served with a copy of this document
                                                             6    via the Court’s CM/ECF system.
                                                             7
                                                             8            By: /s/ Emily L. Brough
                                                                                 EMILY L. BROUGH
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